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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

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. . 17-cv-02270
Plaintlff(S), Judge J°rge L A|o"so -
V lllagistrate Judge ¥oung B. Klm

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"' l'

Defendant(s).

 

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THOM/-\S G. BRUTON
CLERK, U.S. DlSTRlCT COURT

COMPLAINT OF EMPLOYMENT DISCRIMINATION

\/\'/\J\/\,/\/\/V\/\/\/\/

1. This is an action for employment discrimination

2. The plaintiffis id mci/1 1342 .'" f ti/ [7/ // of the

 

county of Q_ 0 er ,'/ in the state of /:/ // L,

 

3. The defendant is il (,ma.;- t>`+"¢)'fe WU// /7/@ ¢) wr-¢/i, /i/t»lf/M»”/ 7"/7 ,whose
street address is `Z 7 00 ("’W“S + O"i ¢?["P "" AV~é)/) Ms;

3

(City)M(€Ounty) C"/v“'@ k (state) ,;L c/ (ZIP) é Uf/ 5

 

 

(Defendant’s telephone number) (‘;5@` )- 3 ¢/l ' 4; §/5" 51
4. The plaintiff sought employment or was employed by the defendant at (street address)

"/l 7 C ‘»3 i,' re ">/ C`_¢]’ .»l't(~i kin é`;" ¢/’ 1_1£ (City) />¢ »V.,.‘. ') 16 w § y `g‘ ¢,.'t~§'~

 

 

(COUth)~Q*:£L_¢(state)__j;_ri/;'_(ZIP code)M

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The plaintiff [check one box]
(a) l:| was denied employment by the defendant
(b) L__| was hired and is still employed by the defendant
(c) |]/ was employed but is no longer employed by the defendant

The defendant discriminated against the plaintiff on or about, or beginning on or about,
(monih) ii/ ii J , (day) , (year)

(Choose paragraph 7.1 or 7.2, do not complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff
[check one box] I:lhas l:lhas not filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the
following government agencies:
(i) ij the United States Equal Employment Opportunity Commission, on or about

(month) (day) (year)

 

 

(ii) |'_`| the lllinois Department of Human Rights, on or about

(month) (day) (year)

 

 

(b) If charges were filed with an agency indicated above, a copy of the charge is

attached |:| Yes, l'_`l No, but plaintiff will file a copy of the charge within 14 days.

lt is the policy of both the Equal Employment Opportunity Commission and the lllinois
Department of Human Rights to cross-file with the other agency all charges received The

plaintiff has no reason to believe that this policy was not followed in this case.

The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

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defendant asserting the acts of discrimination indicated in this court complaint.
l:| Yes (month) (day) (year)
L__l No, did not file Complaint of Employment Discrimination
(b) The plaintiff received a Final Agency Decision on (month)
(day) ______ (year)
(c) Attached is a copy of the
(i) Complaint of Employment Discrimination,
[] Yes |:] No, but a copy will be filed within 14 days.
(ii) Final Agency Decision

l:l Yes E| NO, but a copy will be filed within 14 days.

8. (Cornplete paragraph 8 only if defendant is not a federal governmental agency.)
(a) l:| the United States Equal Employment Opportunity Commission has not
issued a Notice ofRight to Sue.
(b) [l the United States Equal Employment Opportunity Commission has issued
a Non`ce of Ri'ght to Sue, which was received by the plaintiff on

(month) (day) (year) a copy of which

 

Notice is attached to this complaint.

9. The defendant discriminated against the plaintiff because of the plaintiffs [check only
those that apply]:
(a) l:l Age (Age Discrimination Employment Act).

(b) I:l Color (Title VII ofthe Civil Rights Act of 1964 and 42 U.S.C. §1981).

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10.

11.

12.

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(c) Ef Disability (Americans with Disabilities Act or Rehabilitation Act)

(d) l:| National Origin (Title VII ofthe Civil Rights Act of 1964 and 42 U.S.C. §1981).
(e) |__if/Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(f) |:l Religion (Title VlI of the Civil Rights Act of 1964)

(g) l`_'| Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

national origin (42 U.S.C. § 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title VlI claims
by 28 U.S.C.§1331, 28 U.S.C.§l343(a)(3), and 42 U.S.C.§Z()OOe-S(f)@); for 42
U.S.C.§1981 and §1983 by 42 U.S.C.§l988; for the A.D.E.A. by 42 U.S.C.§121 17; for the
Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]

(a) l:| failed to hire the plaintiff

(b) E/ terminated the plaintiffs employment

(c) l:l failed to promote the plaintiff

(d) |:l failed to reasonably accommodate the plaintiffs religion

(e) Miled to reasonably accommodate the plaintiffs disabilities

(i) |:| failed to stop harassment;

(g) Ei" retaliated against the plaintiff because the plaintiff did something to assert rights
protected by the laws identified in paragraphs 9 and 10 above;

(h) l.:l other (specify):

 

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13. The facts supporting the plaintiff’s claim of discrimination are as follows:

 

 

 

 

 

14. [A GE DISCRIMINA T10N ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff

15. The plaintiff demands that the case be tried by a jury. IJ/Yes L__l No

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply]

(a) l:l Direct the defendant to hire the plaintiff

 

(b) El Direct the defendant to re-employ the plaintiff

(c) |'_'] Direct the defendant to promote the plaintiff

(d) l:l Direct the defendant to reasonably accommodate the plaintiffs religion.

(e) ll)irect the defendant to reasonably accommodate the plaintiffs disabilities

(f) [] Direct the defendant to (specify): Cé tca/lp 5 n §ti-/~C {l:v,- l/" he ii M@
"l L-o x rf~

 

 

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(g) Eéavailable, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive
damages, prejudgment interest, post-judgment interest, and costs, including
reasonable attorney fees and expert witness fees.

(h) El/Grant such other relief as the Court may find appropriate

(Plaintiff’ s signature)V

granqu lzaff`»/(,,,f{

(Plaintiff` s name)

P 0 lie t /7 c/
(Plaintiff s street address)

(ciry) f§l,de Ls/e»\,l (stare) ita (zii>) (>`US/Oé

(Plaintiffs telephone number) (7°l )~ § 3 7 / £/"7 7 §/

 

Date: j'ZL’/?

 

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March 17 , 2017 l received a decision from the appellate court, which brings me to ask the court
to view my case. 1 exercise all of my power of calling the Bar association numerous of time, and
yet no one wants to take my case on the behalf, because it the Illinois State Toll Highway
Authority. I’m asking the courts to view my case, and consider iri appointing me a pro bono
attorney to help me with my case, and if need to be, my case need to be taken to a jury trial. I’m
Suing my employer (Illinois State Toll Highway Authority) for violating the disability act, racial
discrimination, and wrongful termination. I had this case in the appellate court under the
Honorable Robert Lopez Cepero, No 15-L-50142, and he felt that disability act, wrongful
termination, and racial discriminating was procedurally properly be raised in a civil action. I’m
asking the court to view the wrongful termination, racial discrimination, and the going against
the disability act, l had my case in the appellate court, and they said this was not in their
jurisdiction, and this was somehow switch around to a workman comp case, but was originally
supposed to be for the Disability Act, racial discrimination and wrongful termination I’m doing
my case pro-se and being disable and not aware on how to put thing in the right place may take
me a little longer, because of the time restraint The appellate court recognized that there was
racial discrimination and wrongful discharge, and going against the Disability Act. The appellate
court sought at this point that this is a procedurally, and properly could be raised in a civil action
separate from workman comp. I don’t know all the codes that go along with my asking, but I’m
asking the court to review my case under the Disability Act, and the civil right act of a wrongful
termination, and racial discrimination of Ronald B\erryhill. l see in favor of the Illinois State Toll
Highway Authority in the appellate courts stating “appearing in the record regardless of whether
the particular reasons given by the trial court, or its specific finding are correct or sound” but I’m
doing my case pro se, and l don’t know all of the rule, code, and citation it take for our justice
system to see my case through when there is wrong be being done. I’m asking the court to hold
the Illinois State Toll Highway Authority accountable for their action of discriminating against
my rights, of being Disable, wrongfully terminated, and racial discriminating I’m asking the
court to review my case based on the letter to sue from the EEOC and Human Rights against the
Illinois State Toll Highway Authority. February 25, 2016 filed a petition for judicial review in
the circuit court of Cook County l ask for a continuance to find my letter, and because of my
disability may have led to the point that l couldn’t give it to the judge on a timely matter, but I

submitted everything in the appellate court. They’re a lot of code that goes along with a law suit

 

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that I’m not aware of, and how to define a “cohesive argument” on how to present and pertinent
authority cited. Obvert V. Seville, 253iii.App. 3d677, 682(1993). . I’ve been in pain from 2003
until today, and l had a major surgery that left me permanent in pain stemming from the accident
at the Illinois State Toll Highway Authority for the rest of my life, that lead l to be disable. I’m
asking the Federal court system to assist me with a pro bono attorney to help me throughout my
family and I; whom has suffer from 2004 until today from a Disability Act, racial discrimination
and wrongfully termination I’m asking the court to restore everything from the time that was
lost from 2004 until today, the wrongfully termination, racial discrimination and going against
the disability act is on the table. I’m asking the court to take in consideration that l need and

attorney to pursue in my case against the Illinois State Toll highway Authority.

